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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  WEST PALM BEACH DIVISION

                                 CASE NO. 23-80101-CR-CANNON

  UNITED STATES OF AMERICA,

         Plaintiff,
  v.

  DONALD J. TRUMP,
  WALTINE NAUTA, and
  CARLOS DE OLIVEIRA,

         Defendants.
                                                                   /

   ORDER GRANTING CONSENT MOTION TO PERMIT DEFENSE LAW CLERK AND
      ANALYST TO BRING ELECTRONIC DEVICES INTO THE COURTHOUSE

         THIS CAUSE comes before the Court upon the Motion to Allow Electronic Devices into

  Courthouses in this District (the “Motion”), filed by Defendants Donald J. Trump and Waltine

  Nauta [ECF No. 249].      Defendants seek permission to permit designated staff members,

  specifically a law clerk and legal analyst assisting their respective defense teams, to bring

  electronic devices into the Wilkie D. Ferguson, Jr. U.S. Courthouse, C. Clyde Atkins U.S.

  Courthouse, Paul G. Rogers Federal Building and U.S. Courthouse, and Alto Lee Adams, Sr. U.S.

  Courthouse to facilitate communications between defense counsel. The Court has reviewed the

  Motion and the full record.

         Upon review, it is ORDERED AND ADJUDGED as follows:

             1. The Motion to Allow Electronic Devices into the Courthouse [ECF No. 249] is

                 GRANTED and shall remain in effect until resolution of this proceeding.
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             2. Brand Woodward Law LP’s law clerk and Blanche Law PLLC’s legal analyst may

                 bring electronic devices into the Ferguson, Atkins, Rogers, and Alto Lee Adams

                 Courthouses as referenced in the Motion.

             3. The Court shall deliver the names of such individuals to the U.S. Marshals Service

                 and transmit a copy to counsel of record.

          DONE AND ORDERED in Chambers at Fort Pierce, Florida, this 4th day of January

  2024.



                                                         _________________________________
                                                         AILEEN M. CANNON
                                                         UNITED STATES DISTRICT JUDGE


  cc:     counsel of record

          U.S. Marshals Service




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